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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

                                                    *
TELVON TAYLOR,                                      *
                                                    *
                                                    *
        Petitioner,                                 *
                                                    *
v.                                                  *    Criminal Case No. RWT-06-131
                                                    *    Civil Action No. RWT-14-3722
UNITED STATES OF AMERICA,                           *
                                                    *
        Respondent.                                 *
                                                    *

                                   MEMORANDUM OPINION

        Pending is Petitioner Telvon Taylor’s Motion to Vacate, Set Aside, or Correct Sentence

Under 28 U.S.C. § 2255. Upon review of the papers filed, and for the reasons stated below, the

Court will deny Taylor’s Motion.1

                                           BACKGROUND

        I.      Taylor’s Federal Conviction and Sentencing

        Taylor was a participant in a large drug conspiracy in St. Mary’s County, Maryland.

ECF No. 549-1. He was indicted for his role in that conspiracy on March 20, 2006. ECF No. 1.

On June 1, 2009, Taylor pled guilty to one count of conspiracy to distribute controlled

substances in violation of 21 U.S.C. § 846. ECF No. 548. As contemplated by the plea

agreement, the probation officer determined, without objection from Taylor, that Taylor was a

career offender pursuant to § 4B1.1 of the U.S. Sentencing Guidelines, resulting in an

enhancement to his base offense level from 28 to 34, and an enhancement to his criminal history

category from Category V to Category VI. ECF No. 549 at 4; ECF No. 753-1 at 4. After a

1
  Also pending are Taylor’s Motion for Summary Judgment [ECF No. 754], which will be denied, and Motion to
Expedite the Ruling for Petitioner’s 2255 Habeas Corpus Petition Due to Extraordinary Circumstances
[ECF No. 765], which will be denied as moot.

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2-level reduction to his offense level for acceptance of responsibility, Taylor’s sentencing

guidelines range was 210-262 months’ imprisonment. On October 5, 2009, the Court sentenced

Taylor to 210 months’ imprisonment. ECF No. 571.

        Three predicate drug felonies in Maryland formed the basis for Taylor’s career offender

status. The first was a 1996 conviction in the Circuit Court for St. Mary’s County for possession

with intent to distribute cocaine (the “1996 Conviction”). ECF No. 753-1 at 2. The second, in

1998, was another conviction in the Circuit Court for St. Mary’s County, this time for

distribution of cocaine (the “1998 Conviction”). Id. at 3. The third conviction was entered in the

Circuit Court for Calvert County, again in 1998, and again for distribution of cocaine.2 Id. at 4.

Each conviction was the result of a guilty plea.3 Taylor was represented by counsel in each case.

Only two prior felony drug convictions are required to render a defendant a career offender

under § 4B1.1 of the U.S. Sentencing Guidelines.

        II.      Taylor’s Attempt to Vacate the 1996 and 1998 Convictions

        Shortly after pleading guilty in this case, Taylor began working diligently to vacate two

of the three predicate felonies. He filed pro se challenges in state court to both the 1996

Conviction and the 1998 Conviction, seeking in the Circuit Court for St. Mary’s County a Writ

of Error Coram Nobis to vacate each conviction. ECF No. 744-1 at 3-4. The court granted

Taylor’s petition as to the 1998 Conviction, determining that the judge who took Taylor’s guilty

plea failed to inform him of the maximum penalty of the offense to which he pled guilty.




2
 Taylor does not challenge the Calvert County conviction here.
3
 In Maryland, a defendant who pleads guilty has no right to direct appellate review of his conviction and sentence.
Md. Code Ann., Cts. & Jud. Proc. § 12-302(e); see also Bruno v. State, 632 A.2d 1192, 1200 (Md. 1993) (“By
pleading guilty, however, a defendant forfeits any right to a direct appeal…and ordinarily waives all
nonjurisdictional defects in the proceedings.”). If a defendant who pled guilty seeks appellate review, he must file
an application for leave to appeal with the Maryland Court of Special Appeals, which may be summarily denied.
Md. Rule 8-204(f)(1).

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ECF No. 744-2. Because that conviction was vacated, it can no longer be used to support

Taylor’s status as a career offender.

        Unfortunately for Taylor, his efforts were not successful as to the 1996 Conviction.

Taylor raised a number of grounds in support of his petition. Taylor argued that the judge who

presided over his guilty plea and sentencing in that case did not explain the nature and elements

of the charges against him, did not conduct an adequate inquiry into the facts surrounding his

guilty plea, and did not inform him of the maximum sentence possible for the charge to which he

was pleading guilty. ECF No. 744-4 at 5-9. Taylor also argued that his counsel was ineffective

for failing to inform him of his post-trial rights of review, and that he did not file an appeal

because his attorney failed to inform him that his plea was invalid. ECF No. 744-4 at 8-10.

After a hearing, the state court rejected Taylor’s petition in a rather thorough opinion. Id. at

2-10.

        First, the court determined that, by pleading guilty and failing to file an application for

leave to appeal, Taylor waived the ability to allege any error in a coram nobis proceeding. Id. at

3-5. Taylor had argued that the sentencing judge never informed him of his ability to apply for

leave to appeal, in violation of Maryland Rule 4-342(i)(1), and therefore he could not have

validly waived his ability to later challenge his conviction in a coram nobis proceeding.

ECF No. 744-4 at 3-5. Crucially, the court determined that, as a matter of fact, Taylor was fully

informed of his rights, including his right to apply for leave to appeal. Id. at 4-5. In making this

determination, the court first noted that the transcript of Taylor’s sentencing revealed that the

sentencing judge had informed him of the existence of his post-conviction rights. Id. at 4; see

also ECF No. 744-3 at 8 (sentencing transcript for the 1996 Conviction) (“And finally,

Mr. Taylor, [your attorney] will advise you of your post trial rights of sentence review,



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reconsideration and appellate rights.”). Moreover, the attorney who represented Taylor at the

time testified that he regularly informed his clients of their post-trial rights, and that he was in

regular communication with Taylor throughout the case. ECF No. 744-4 at 4. To bolster this

finding, the judge noted that Taylor had successfully exercised another post-trial right by filing a

motion for reconsideration, and thus did “not find it credible to accept that Petitioner was

sufficiently informed of his rights to ask for reconsideration of his sentence, but not informed of

any other post-trial rights.” Id. Despite the determination that Taylor had waived his ability to

bring a coram nobis challenge to the 1996 Conviction, the judge still addressed, and rejected,

each of the substantive grounds on which Taylor challenged his conviction.4 Id. at 5-10. The

Maryland Court of Special Appeals affirmed on December 14, 2010. ECF No. 744-5. Taylor

timely filed the instant Motion on November 26, 2014. ECF No. 744.

                                         STANDARD OF REVIEW

        Under 28 U.S.C. § 2255(a), a prisoner in custody may file a motion to vacate, set aside,

or correct a sentence, “claiming the right to be released upon the ground that the sentence was

imposed in violation of the Constitution or laws of the United States, or that the court was

without jurisdiction to impose such sentence, or that the sentence was in excess of the maximum

authorized by law, or is otherwise subject to collateral attack.” 28 U.S.C. § 2255(a). Pursuant to

28 U.S.C. § 2255(b), the Court may deny the motion without a hearing if “the motion and the

files and records of the case conclusively show that the prisoner is entitled to no relief.”



4
  Relevant to this proceeding, because Taylor presents the same claim here, the judge did find that the transcript of
Taylor’s guilty plea was inadequate to determine whether Taylor was informed, on the record, of the nature and
elements of the charges against him, which would constitute a violation of Maryland Rule 4-242(c). ECF No. 744-4
at 5-6. However, based on the detailed testimony of Taylor’s attorney, the judge determined that Taylor’s attorney
had informed him of the nature and elements of the charges against him, this error by the sentencing judge did not
rise to the constitutional level. Id.; cf. also Henderson v. Morgan, 426 U.S. 637, 646 (1976) (holding that
defendant’s guilty plea was involuntary, in part because there was no showing that defense counsel explained
charges to the defendant).

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28 U.S.C. § 2255(b); see also Zelaya v. United States, No. DKC 05-0393, 2013 WL 4495788,

at *2 (D. Md. Aug. 20, 2013).

                                                 ANALYSIS

        Taylor’s Motion fails because this Court is without power to grant him the relief

requested under 28 U.S.C. § 2255. Taylor does not assert that this Court erred in determining

that he was a career offender. ECF No. 754 at 5 (“The Petitioner avers that he is not making an

assertion that this Honorable Court…committed any legal error when rendering that petitioner

was a ‘career offender.’”). Rather, he is attempting to use a proceeding under § 2255, in which

collateral attacks on federal sentences are entertained, to mount a collateral attack on a state

conviction that was used to enhance his federal sentence.                   However, the Supreme Court

foreclosed that avenue of attacking a state conviction in Daniels v. United States, 532 U.S. 374

(2001), holding that a federal prisoner generally may not collaterally attack a state conviction

that was used to enhance his federal sentence in a § 2255 proceeding,5 unless the conviction was

allegedly obtained without affording the accused the right to counsel in violation of

Gideon v. Wainright, 372 U.S. 335 (1963). Daniels, 532 U.S. at 383. That circumstance is not

present here.

        Daniels would seem to end the matter, but Taylor argues that his situation fits into a

narrow exception to the general Daniels rule. In Daniels, four justices agreed that a federal

prisoner might use § 2255 to attack a state conviction used to enhance a federal sentence in “rare

cases in which no channel of review was actually available to a defendant with respect to a prior

conviction, due to no fault of his own.” Id. at 383 (emphasis added). Taylor argues that his case

falls within this exception because, allegedly not having been informed of his ability to apply for

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  Daniels involved a statutory enhancement under the Armed Career Criminal Act, but the Fourth Circuit has held
that Daniels also applies where the enhancement is under the U.S. Sentencing Guidelines. United States v. Gadsen,
332 F.3d 224, 228n.3 (4th Cir. 2003).

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leave to appeal the 1996 Conviction, he was never able to seek review of that conviction.

ECF No. 744-1 at 8-9.

       Taylor reads the exception outlined in Daniels far too broadly.         The rare Daniels

exception, by its terms, applies only where “no channel of review was actually available” to the

federal prisoner. Daniels, 532 U.S. at 383. Thus, if some channel of review was available to

challenge the state conviction, and the federal prisoner is simply unsuccessful in challenging the

conviction through that channel, Daniels forecloses his ability to challenge the conviction in a

§ 2255 proceeding. Id. at 382 (“If, however, a prior conviction used to enhance a federal

sentence is no longer open to direct or collateral attack in its own right because the defendant

failed to pursue those remedies while they were available (or because the defendant did so

unsuccessfully), then that defendant is without recourse.”) (emphasis added). It is clear from the

preceding discussion describing Taylor’s attempts to have his prior convictions vacated that there

was an opportunity for Taylor to have that conviction reviewed, which Taylor took advantage of,

and that his arguments were fully addressed on their merits. In fact, Taylor used this avenue of

review to successfully vacate the 1998 Conviction. The fact that the courts reviewing Taylor’s

1996 Conviction disagreed with his arguments does not mean that Taylor had “no channel of

review,” it just means that he was unsuccessful in that instance. Taylor’s situation simply does

not fall into the narrow Daniels exception.

       In reality, Taylor is not complaining that he had no opportunity to have the 1996

Conviction reviewed. He is complaining that the state courts that reviewed that conviction

disagreed with him. But reviewing those determinations is not a proper function for this Court in

a § 2255 proceeding. Taylor was convicted in a Maryland state court for violating a Maryland

state law. He later sought to vacate that conviction in the same Maryland state court. That court,



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after holding a hearing, fully addressed Taylor’s claims on the merits. That ruling was fully

affirmed by a Maryland appellate court.         Two Maryland state courts reviewed Taylor’s

contentions on the merits and determined on the merits that the 1996 Conviction remained valid.

This Court is not a Maryland appellate court, and is without power to review the decisions of

Maryland’s state courts under § 2255, unless Maryland provided Taylor with no avenue to have

his claims reviewed. Because Maryland did provide such an avenue, Taylor’s petition must be

dismissed.

                            CERTIFICATE OF APPEALABILITY

       Taylor may not appeal this Court’s order denying him relief under 28 U.S.C. § 2255

unless it issues a certificate of appealability. United States v. Hardy, 227 Fed. App’x. 272, 273

(4th Cir. 2007). A certificate of appealability will only issue if he has made a “substantial

showing of the denial of a constitutional right.” 28 U.S.C. § 2253(c); Hardy, 227 Fed App’x.

at 273. A petitioner “satisfies this standard by demonstrating that reasonable jurists would find

that any assessment of the constitutional claims by the district court is debatable or wrong and

that any dispositive procedural ruling by the district court is likewise debatable.” United

States v. Riley, 322 Fed. Appx. 296, 297 (4th Cir. 2009).

       Here, the Court has reviewed Taylor’s claims. Taylor has failed to raise a cognizable

§ 2255 claim in which a reasonable jurist could find merit, or indeed which a reasonable jurist

could even understand, and thus no certificate of appealability shall issue.




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                                        CONCLUSION

       For the foregoing reasons, Taylor’s petition will be dismissed, and no certificate of

appealability shall issue. A separate Order follows.



Date: September 21, 2015                                             /s/
                                                       ROGER W. TITUS
                                                       UNITED STATES DISTRICT JUDGE




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